                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

ROBERT MOORE,                                    §
                                                 §
        Plaintiff,                               §
                                                 §
v.                                               §          Civil Action No. 3:19-CV-00279
                                                 §
U.S. IMMIGRATION AND CUSTOMS                     §
ENFORCEMENT; U.S. CUSTOMS AND                    §
BORDER PROTECTION; AND                           §
U.S. DEPARTMENT OF HEALTH                        §
AND HUMAN SERVICES,                              §                  COMPLAINT FOR
                                                 §                  DECLARATORY AND
        Defendants.                              §                  INJUNCTIVE RELIEF


                        PLAINTIFF’S ORIGINAL COMPLAINT

                            I.     PRELIMINARY STATEMENT

        1.      Robert Moore is a reporter who has conducted award-winning investigative

journalism in the El Paso region for more than 25 years.

        2.      From June 2018 to March 2019, Mr. Moore submitted five requests for information

under the Freedom of Information Act (“FOIA”) to three federal agencies as part of his efforts to

educate the public. The requests seek critical records related to border enforcement, fundamental

shifts in the treatment of asylum-seekers, and operation of immigration detention facilities in El

Paso.

        3.      The “basic purpose of FOIA is to ensure an informed citizenry, vital to the

functioning of a democratic society, needed to check against corruption and to hold the government

accountable to the governed.” NLRB v. Robbins Tire & Rubber Co., 437 U.S. 214, 242 (1978).

        4.      When a FOIA request is made, the agency must communicate a determination

regarding the request and “the reasons therefor” within 20 working days of the original request or,


                                                                 Plaintiff’s Original Complaint - Page 1 of 9
in “unusual circumstances,” within 30 working days. 5 U.S.C. § 552(a)(6)(A)(i), (a)(6)(B)(i).

After this determination, the agency must make the documents “’promptly available,’” which

depending on the circumstances typically would mean within days or a few weeks of a

‘determination,’ not months or years.” Citizens for Responsibility and Ethics in Washington v. Fed.

Election Com’n, 711 F.3d 180, 188 (D.C. Cir. 2013) (citing 5 U.S.C. § 552(a)(3)(A), a(6)(C)(i)).

       5.      From June 2018 to April 2019, Mr. Robert Moore (“Mr. Moore” or “Plaintiff”)

submitted five FOIA requests to various federal agencies regarding critical matters along the U.S.-

Mexico border. Today, over fifteen months from the submission of the first request, Mr. Moore

has not received a single document from any of the agencies.

       6.      This case is about the unlawful refusal of U.S. Immigration and Customs

Enforcement (“ICE”), the U.S. Customs and Border Protection (“CBP”), and the U.S. Department

of Health and Human Services (“HHS”) to timely and fully release agency records without any

regard for the FOIA and its statutory requirements.

       7.      Defendants in this case have a pattern of refusing to timely communicate and

produce documents in response to Mr. Moore’s requests as required by the FOIA. Defendants’

repeated failure to comply with governmental transparency rules poses a danger – not just to Mr.

Moore – but to all news media and advocacy organizations seeking to provide information to the

public at a time that the federal government is fundamentally restructuring border security and

immigration in the region.

                             II.    JURISDICTION AND VENUE

       8.      This Court has subject-matter jurisdiction over Plaintiff’s FOIA claims pursuant to

28 U.S.C. § 1331 (federal question) and 5 U.S.C. § 552(a)(4)(B) (FOIA). Plaintiffs’ request for

declaratory and other relief is properly subject to this Court’s subject-matter jurisdiction pursuant

to 28 U.S.C. §§ 1331, 2201(a), and 2202.


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       9.      Venue is proper within this District under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

§§ 1391(b)(1), (b)(2), and (e)(1).

                                        III.    PARTIES

       10.     Plaintiff Robert Moore is a local journalist who resides in El Paso County, Texas.

       11.     Robert Moore is an independent journalist and President and CEO of El Paso

Matters – a nonprofit news organization focused on in-depth and investigative reporting about El

Paso and the Paso del Norte region. He writes regularly for the Washington Post, Texas Monthly,

and other national, international and regional news organizations. He served in leadership roles at

the El Paso Times from 1986 to 2005 and as Editor from 2011 to 2017. He has also won awards

from such organizations as the National Press Foundation, the Freedom of Information Foundation

of Texas, and the Texas Press Association.

       12.     An integral part of Mr. Moore’s work is unveiling and explaining critical

information about the federal government to the region, nation, and world. By informing the

public, his reporting has helped lead to policy changes at the border.

       13.     Timely, complete, and accurate information about ongoing government operations

is key to the effectiveness of Mr. Moore’s reporting.

       14.     Plaintiff has constructively exhausted all non-futile administrative remedies.

       15.     Defendant U.S. Immigration and Customs Enforcement (“ICE”) is an executive

agency component of the U.S. Department of Homeland Security (“DHS”) and an “agency” within

the meaning of 5 U.S.C. § 552(f)(1).

       16.     Defendant U.S. Customs and Border Protection (“CBP”) is an executive agency

component of the U.S. Department of Homeland Security (“DHS”) and an “agency” within the

meaning of 5 U.S.C. § 552(f)(1).




                                                                  Plaintiff’s Original Complaint - Page 3 of 9
       17.     Defendant U.S. Department of Health and Human Services (“HHS”) and its sub

agency, Adult and Family Services are executive agencies within the meaning of 5 U.S.C. §

552(f)(1).

                                          IV.     FACTS

A.     First Request.

       18.     On June 16, 2018, Plaintiff submitted FOIA request no. CBP-2018-064544 to CBP

via the agency’s online portal seeking: “any and all directives, emails, text messages and other

communications from CBP officials regarding the handling of potential asylum seekers at ports of

entry when port facilities are at ‘capacity.’ The period covered by this request is Jan. 1, 2018 to

June 16, 2018.”

       19.     The agency acknowledged receipt of the request on June 19, 2018. Ex. 1.

       20.     On July 31, 2018 – over the statutory deadline for agency response – Plaintiff

requested an update of the status of the FOIA request via email and via the CBP online portal. He

received no substantive response through the portal.

       21.     On August 25, 2018, Mr. Moore requested an update from the public affairs officer,

Roger Maier, by email. Ex. 2.

       22.     On August 26, 2018, Mr. Maier responded stating “FOIA is separate from public

affairs but I’ll see if I can track something this week.” Ex. 3.

       23.     Seven months later, on March 27, 2019, CBP granted Plaintiff’s fee waiver. Ex. 4.

       24.     Over three months later, Mr. Moore requested an update by email from the Acting

Assistant Secretary of Homeland Security for Public Affairs, Andrew Meehan. Plaintiff received

no response from Mr. Meehan to date. Ex. 5.

       25.     CBP has never produced a single document to Plaintiff in response to his June 16,

2018 FOIA request nor has it made a determination regarding this request.


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B.     Second Request.

       26.     On June 22, 2018, Plaintiff submitted a FOIA request to ICE via the agency’s online

portal seeking: “[a]ny memoranda of understanding or agreement between DHS and the

Department of Health and Human Services created since January 20, 2017. That includes an[y]

such memoranda regarding the Office of Refugee Resettlement” and “[a]n[y] correspondence to

or from ICE officials, including text messages or emails, regarding the use of ORR databases for

enforcement purposes.” Ex. 6.

       27.     On June 27, 2018, ICE referred Plaintiff’s request to the Department of Homeland

Security’s Privacy Office as the appropriate agency to receive the request. Ex. 7.

       28.     Plaintiff did not hear a response from ICE or DHS at any point from June 2018 until

July 2019.

       29.     On July 1, 2019, after receiving no response from ICE, Plaintiff emailed Mr.

Meehan requesting an update on his FOIA request. To that point, the response had not even been

assigned a case number with either ICE or DHS. Ex. 5.

       30.     On July 16, 2019, Plaintiff emailed a request to the DHS Privacy Office – the

agency which ICE had indicated over a year earlier would be handling his request. Ex. 8.

       31.     On July 19, 2019, the DHS Privacy Office contacted Plaintiff. DHS claimed, in

this letter, that Plaintiff’s request was dated June 22, 2018 but, “received in this office on July 16,

2019.” It went on to inform Plaintiff that it would be transferring his request back to the FOIA

Officer for ICE – the agency to which Plaintiff originally requested the information thirteen

months earlier. Ex. 9.

       32.     On July 29, 2019, over thirteen months after Plaintiff submitted his initial request,

ICE finally acknowledged receipt of his complaint – which it falsely claimed it received on July




                                                                    Plaintiff’s Original Complaint - Page 5 of 9
19, 2019. This is the first time ICE identified Plaintiff’s request with a case number – ICE 2019-

ICFO-49560. Ex. 10.

       33.     In this receipt, ICE requested clarification of Plaintiff’s request – which Plaintiff

provided on the very same day by e-mail. Ex. 11.

       34.     To this date, fifteen months since the initial request and two months since ICE

requested clarification, ICE has failed to produce a single document to Plaintiff in response to his

June 22, 2018 FOIA request nor has it made a determination regarding this request.

C.     Third Request.

       35.     On June 22, 2018, Plaintiff submitted a FOIA request to HHS via the agency’s

online portal seeking: “a memoranda of understanding or agreement between the Department of

Health and Human Services and the Department of Homeland Security since Jan. 20, 2017” and

“[a]ny correspondence, including emails and text messages, regarding access to HHS databases,

including those maintained by the Office of Refugee Resettlement, by Department of Homeland

Security officials. (Date Range for Record Search: From 01/20/2017 To 06/22/2018).”

       36.     On the same day, HHS acknowledged receipt of the request, identified it as case

number 2018-01128-FOIA-OS, and transferred the request to the sub-agency, Administration for

Children and Families (“ASF”). Ex. 12.

       37.     On August 1, 2018, the ASF acknowledged receipt of Plaintiff’s request and re-

assigned it as case number HHS 18-F-0410. Ex. 13.

       38.     On September 12, 2018, Mr. Moore requested an update and received a cursory

response. Ex. 14.

       39.     One year later, on September 23, 2019, Plaintiff again requested an update. Ex. 15.

       40.     Finally, on September 25, 2019, fifteen months after the initial request, HHS asked

for clarification in Plaintiff’s request. Ex. 16. Plaintiff provided a detailed response the same day.


                                                                   Plaintiff’s Original Complaint - Page 6 of 9
       41.     To date, fifteen months from the date of Plaintiff’s initial FOIA request, neither

HHS nor its sub-agency, the ACF, has produced a single document or provided an agency

determination to Plaintiff.

D.     Fourth Request.

       42.     On November 11, 2018, Plaintiff submitted a FOIA request to CBP via the agency’s

online portal seeking: “emails, text messages, memoranda and all other written communication

regarding a Mobile Field Force Demonstration originally scheduled for November 6, 2018, in El

Paso, Texas. A press release on the event described its location as ‘the railroad crossing west of

the Paso Del Norte Port of Entry.’ The time period covered by my request is October 1, 2018, to

November 11, 2018.” Ex. 17.

       43.     On November 27, 2018, CBP identified the request as CBP-2019-010211 and

claimed that it was making a “modification” to Plaintiff’s request description. Ex. 18.

       44.     Eight months after the request was made, CBP’s FOIA office emailed Plaintiff

claiming that it was changing the request number to CBP-OFO-2019-010211. Ex. 19.

       45.     To date, ten months from the date of Plaintiff’s initial FOIA request, CBP has failed

to produce a single document or provide Plaintiff with an agency determination regarding any

aspect of his request.

E.     Fifth Request.

       46.     On March 29, 2019, Plaintiff submitted a FOIA request to ICE via the agency’s

online portal seeking: “Emails, texts, letters, reports or other written communication regarding the

following two requests for media interviews at the El Paso Processing Center: 1) An email sent on

March 13, 2019, by Robert Moore to Leticia Zamarripa seeking to interview Rajandeep Singh. 2)

An email sent on March 17, 2019, by Robert Moore to Leticia Zamarripa seeking to interview

Jasvir Singh. 3) A faxed request sent on March 19, 2019, by Robert Moore to Field Office Director


                                                                  Plaintiff’s Original Complaint - Page 7 of 9
Corey A. Price seeking to interview Rajandeep Singh and Jasvir Singh. The period covered by

this request is March 13, 2019, to March 26, 2019. The request includes but is not limited to

communications to and from Leticia Zamarrripa and Corey A. Price.” Ex. 20.

       47.     On April 9, 2019, ICE acknowledged the request, assigned case number ICE 2019-

ICFO-33608, and requested that Plaintiff provide consent from third parties to the request. Ex. 21.

       48.     On the same day, Plaintiff reiterated by email that he was seeking records regarding

his own interview request and was not requesting information on behalf of any third party. Ex. 22.

       49.     On April 24, 2019, ICE asked for a Certification of Identity from Plaintiff. Ex. 23.

       50.     On the same day, Plaintiff provides a Certificate of Identity form filled out with his

information to the ICE FOIA office. Ex. 24.

       51.     To date, six months from the date of Plaintiff’s initial FOIA request, ICE has failed

to produce a single document or provide Plaintiff with an agency determination regarding his

request.

                                V.      CLAIMS FOR RELIEF

              COUNT ONE: VIOLATION OF THE FREEDOM OF INFORMATION ACT
                               5 U.S.C. § 552(a)(4)(B)
             UNLAWFUL WITHHOLDING OF AGENCY RECORDS BY ALL DEFENDANTS

       52.     Plaintiff re-alleges and incorporates by reference all allegations in the foregoing

paragraphs.

       53.     Plaintiff has a legal right under FOIA to the timely search and release of responsive,

non-exempt agency records responsive to his five FOIA requests listed above.

       54.     No legal basis exists for the failure to adequately and timely search for and release

responsive agency records in compliance with FOIA’s time limits by ICE, CBP, or HHS.




                                                                  Plaintiff’s Original Complaint - Page 8 of 9
       55.    The agencies’ failure to make reasonable and timely efforts to search for and release

responsive agency records constitutes an unlawful withholding under the Act that this Court can

and should remedy through declaration and injunction.

       56.    Because the agencies have failed to comply with the Act’s time limits – including

its failure to provide a simple determination to Plaintiff within the Act’s time limits – Plaintiff

has constructively exhausted his administrative remedies.

                               VI.     REQUEST FOR RELIEF

       Wherefore, Plaintiff respectfully requests that this Court:

       1.     Enter judgment in favor of Plaintiff and against all Defendants.

       2.     Declare Defendants’ withholdings under the FOIA unlawful and enjoin these
              unlawful withholdings.

       3.     Order Defendants to conduct a prompt and adequate search for all responsive
              records, determine which, if any portions of such records are exempt, and require
              Defendants to release the remaining portions of these agency records.

       4.     Award Plaintiff reasonable costs and attorney’s fees pursuant to 5 U.S.C. §
              552(a)(4)(E) and/or 28 U.S.C. § 2412(d)(1)(A).

       5.     Award Plaintiff such further relief as the Court deems just, equitable, and
              appropriate.

Submitted: October 1, 2019                           Respectfully submitted,

                                                     THE LAW OFFICE OF LYNN COYLE, PLLC
                                                     2515 N. Stanton Street
                                                     El Paso, Texas 79902
                                                     Telephone: (915) 532-5544
                                                     Facsimile: (915) 532-5566


                                                     /s/ Lynn Coyle
                                                     LYNN COYLE
                                                     State Bar No. 24050049
                                                     lynn@coylefirm.com
                                                     CHRISTOPHER BENOIT
                                                     State Bar No. 24068653
                                                     chris@coylefirm.com


                                                                     Plaintiff’s Original Complaint - Page 9 of 9
EXHIBIT
  1
                                                                                         90 K Street NE
                                                                                               MS 1181
                                                                                   Washington, DC 20229


Robert Moore
711 Blanchard Ave.
El Paso, TX 79902


                                                                                            June 19, 2018


Dear Robert Moore,




Robert Moore


711 Blanchard Ave. El Paso TX 79902




Dear Robert Moore:




This automated notice acknowledges receipt of your Freedom of Information Act (FOIA) request to U.S.
Customs and Border Protection (CBP) received on 06/16/2018. Please use the following unique FOIA
tracking number CBP-2018-064544 to track the status of your request. If you have not already done so,
you must create a FOIAonline account at https://foiaonline.regulations.gov. This is the only method
available to check the status of your pending FOIA request.




Provisions of the Act allow us to recover part of the cost of complying with your request. We shall charge
you for records in accordance with the DHS FOIA regulations outlined on the DHS website,
https://www.federalregister.gov/documents/2016/11/22/2016-28095/freedom-of-information-act-
regulations. By submitting your request, you have agreed to pay up to $25.00 in applicable processing
fees, if any fees associated with your request exceed this amount, CBP shall contact you; however, the
first 100 pages are free.




Due to the increasing number of FOIA requests received by this office, we may encounter some delay in
processing your request. Consistent with 6 C.F.R. Part 5 §5.5(a) of the DHS FOIA regulations, CBP
processes FOIA requests according to their order of receipt. Although CBP’s goal is to respond within 20
business days of receipt of your request, FOIA does permit a 10-day extension of this time period in
certain circumstances pursuant to 6 C.F.R. Part 5 §5.5(c).
For additional information please consult CBP FOIA website please click on FOIA Act Resources or visit
http://www.cbp.gov/site-policy-notices/foia.


Sincerely,



FOIA Division
U.S. Customs and Border Protection
EXHIBIT
  2
9/23/2019                                                                              Gmail - FOIA request



                                                                                                                                    Robert Moore <bmooreep@gmail.com>



  FOIA request
  Robert Moore <bmooreep@gmail.com>                                                                                                          Sat, Aug 25, 2018 at 8:03 PM
  To: "MAIER, ROGER" <ROGER.MAIER@cbp.dhs.gov>

    Roger:

    I was hoping you could help me track down the status of a FOIA request I filed in June. The online FOIA site I used gave a completion date of July 18, but I haven't
    heard anything from CBP FOIA, such as a request for extension. The website doesn't give any email address to contact for follow up, at least that I could find.

    The request number is CBP-OIT-2018-064544.


    Bob




https://mail.google.com/mail/u/0?ik=96582636c0&view=pt&search=all&permmsgid=msg-a%3Ar310002826838236966&simpl=msg-a%3Ar310002826838236966                                  1/1
EXHIBIT
  3
9/23/2019                                                                               Gmail - FOIA request



                                                                                                                                    Robert Moore <bmooreep@gmail.com>



  FOIA request
  MAIER, ROGER <ROGER.MAIER@cbp.dhs.gov>                                                                                                     Sun, Aug 26, 2018 at 8:53 AM
  To: Robert Moore <bmooreep@gmail.com>

    FOIA is separate from public affairs but I'll see if I can track something this week.



    Sent from my Verizon, Samsung Galaxy smartphone
    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=96582636c0&view=pt&search=all&permmsgid=msg-f%3A1609873730050317641&simpl=msg-f%3A1609873730050317641                               1/1
EXHIBIT
  4
9/23/2019                                                        Gmail - FOIA Fee Waiver Disposition Reached for CBP-OIT-2018-064544



                                                                                                                                       Robert Moore <bmooreep@gmail.com>



  FOIA Fee Waiver Disposition Reached for CBP-OIT-2018-064544
  admin@foiaonline.gov <admin@foiaonline.gov>                                                                                                  Wed, Mar 27, 2019 at 10:36 AM
  To: bmooreep@gmail.com


    Your request for Fee Waiver for the FOIA request CBP-OIT-2018-064544 has been fully granted. Additional details for this request are as follows:

            Request Created on: 07/03/2018
            Request Description: I am seeking any and all directives, emails, text messages and other communications from CBP officials regarding the handling of
            potential asylum seekers at ports of entry when port facilities are at "capacity." The period covered by this request is Jan. 1, 2018, to June 16, 2018.
            Fee Waiver Original Justification: I am requesting this material as a journalist to inform the public of CBP policies and activities.
            Fee Waiver Disposition Reason: N/A




https://mail.google.com/mail/u/0?ik=96582636c0&view=pt&search=all&permmsgid=msg-f%3A1629177331878733716&simpl=msg-f%3A1629177331878733716                                  1/1
EXHIBIT
  5
9/23/2019                                                     Gmail - Form submission from: DHS FOIA / Privacy Act Request Submission Form



                                                                                                                                             Robert Moore <bmooreep@gmail.com>



  Form submission from: DHS FOIA / Privacy Act Request Submission Form
  Robert Moore <bmooreep@gmail.com>                                                                                                                   Mon, Jul 1, 2019 at 10:46 AM
  To: "Meehan, Andrew" <andrew.meehan@hq.dhs.gov>

    Following up form last night, below is one of two FOIA's I submitted to DHS agencies that are now more than a year old.

    The second is one I submitted to CBP through the FOIA portal. It's been assigned number CBP-2018-064544.

    I really enjoyed talking with you. Enjoy your stay in El Paso.
    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=96582636c0&view=pt&search=all&permmsgid=msg-a%3Ar-2346137157852828643&simpl=msg-a%3Ar-2346137157852828643                                    1/1
EXHIBIT
  6
9/23/2019                                                    Gmail - Form submission from: DHS FOIA / Privacy Act Request Submission Form



                                                                                                                                            Robert Moore <bmooreep@gmail.com>



  Form submission from: DHS FOIA / Privacy Act Request Submission Form
  WCM DHS <wcmmonitoring@dhs.gov>                                                                                                                    Fri, Jun 22, 2018 at 10:24 AM
  Reply-To: Homeland Security <bmooreep@gmail.com>
  To: bmooreep@gmail.com

    Submitted on Friday, June 22, 2018 - 12:24
    Submitted by user: Anonymous
    Submitted values are:

    Select the DHS component you wish to submit your request to: : U.S.
    Immigration and Customs Enforcement (ICE)
    Title:
    First Name: Robert
    Middle Initial:
    Last Name: Moore
    Suffix:
    Email Address: bmooreep@gmail.com
    Country: United States
    Address 1: 711 Blanchard Ave.
    Address 2:
    City: El Paso
    State: Texas
    Zip Code: 79902
    Telephone Number: 9155887678
    Fax Number:
    Are you requesting records on yourself? No
    If yes, you must check the perjury statement:
    By initialing here you are providing your electronic signature.: Robert Moore
    Please describe the records you are seeking as clearly and precisely as
    possible:
    I am seeking:

    Any memoranda of understanding or agreement between DHS and the Department of
    Health and Human Services created since January 20, 2017. That includes and
    such memoranda regarding the Office of Refugee Resettlement.

    An correspondence to or from ICE officials, including text messages or
    emails, regarding the use of ORR databases for enforcement purposes.
    I am willing to pay fees for this request up to the amount of: $: 100
    Select from the list below: A representative of the news media seeking
    information as part of a news gathering effort and not for commercial use.
    I request a waiver of all fees for this request.: I request a waiver of all
https://mail.google.com/mail/u/0?ik=96582636c0&view=pt&search=all&permmsgid=msg-f%3A1603990606641062464&simpl=msg-f%3A1603990606641062464                                        1/2
9/23/2019                                                    Gmail - Form submission from: DHS FOIA / Privacy Act Request Submission Form
    fees for this request.
    Please provide an explanation for your request for a fee waiver: I am working
    as a journalist, explaining to the public the functions of the Department of
    Homeland Security. Such work is inherently in the public interest.
    Please select and describe in detail if you believe your request warrants
    expeditious handling:
    Please provide information to support your selection:




https://mail.google.com/mail/u/0?ik=96582636c0&view=pt&search=all&permmsgid=msg-f%3A1603990606641062464&simpl=msg-f%3A1603990606641062464   2/2
EXHIBIT
  7
9/23/2019                                                   Gmail - RE: Form submission from: DHS FOIA / Privacy Act Request Submission Form



                                                                                                                                          Robert Moore <bmooreep@gmail.com>



  RE: Form submission from: DHS FOIA / Privacy Act Request Submission Form
  ICE-FOIA <ICE-FOIA@ice.dhs.gov>                                                                                                                  Wed, Jun 27, 2018 at 3:25 PM
  To: "bmooreep@gmail.com" <bmooreep@gmail.com>

    Good evening,
    After careful review of your request, we have decided that it would fall under the Department of Homeland Security Privacy Office. We have forwarded your request
    to their office. The contact information is below:

    Karen Neuman
    Chief Privacy Officer/Chief FOIA Officer
    The Privacy Office
    245 Murray Lane SW
    Mail Stop - 0305
    Washington, D.C. 20528-0305
    Phone: 202-343-1717
    E-mail: privacy@dhs.gov

    Sincerely,
    ICE FOIA

    -----Original Message-----
    From: webpublishing@hq.dhs.gov [mailto:webpublishing@hq.dhs.gov] On Behalf Of WCM DHS
    Sent: Friday, June 22, 2018 12:24 PM
    To: ice-foia@dhs.gov
    Subject: Form submission from: DHS FOIA / Privacy Act Request Submission Form

    Submitted on Friday, June 22, 2018 - 12:24 Submitted by user: Anonymous Submitted values are:

    Select the DHS component you wish to submit your request to: : U.S.
    Immigration and Customs Enforcement (ICE)
    Title:
    First Name: Robert
    Middle Initial:
    Last Name: Moore
    Suffix:
    Email Address: bmooreep@gmail.com
    Country: United States
    Address 1: 711 Blanchard Ave.
    Address 2:
    City: El Paso
    State: Texas
    Zip Code: 79902
https://mail.google.com/mail/u/0?ik=96582636c0&view=pt&search=all&permmsgid=msg-f%3A1604462560441411572&simpl=msg-f%3A1604462560441411572                                     1/2
9/23/2019                                                   Gmail - RE: Form submission from: DHS FOIA / Privacy Act Request Submission Form
    Telephone Number: 9155887678
    Fax Number:
    Are you requesting records on yourself? No If yes, you must check the perjury statement:
    By initialing here you are providing your electronic signature.: Robert Moore Please describe the records you are seeking as clearly and precisely as
    possible:
    I am seeking:

    Any memoranda of understanding or agreement between DHS and the Department of Health and Human Services created since January 20, 2017. That includes
    and such memoranda regarding the Office of Refugee Resettlement.

    An correspondence to or from ICE officials, including text messages or emails, regarding the use of ORR databases for enforcement purposes.
    I am willing to pay fees for this request up to the amount of: $: 100 Select from the list below: A representative of the news media seeking information as part of a
    news gathering effort and not for commercial use.
    I request a waiver of all fees for this request.: I request a waiver of all fees for this request.
    Please provide an explanation for your request for a fee waiver: I am working as a journalist, explaining to the public the functions of the Department of Homeland
    Security. Such work is inherently in the public interest.
    Please select and describe in detail if you believe your request warrants expeditious handling:
    Please provide information to support your selection:




https://mail.google.com/mail/u/0?ik=96582636c0&view=pt&search=all&permmsgid=msg-f%3A1604462560441411572&simpl=msg-f%3A1604462560441411572                                   2/2
EXHIBIT
  8
9/23/2019                                                  Gmail - RE: Form submission from: DHS FOIA / Privacy Act Request Submission Form



                                                                                                                                         Robert Moore <bmooreep@gmail.com>



  RE: Form submission from: DHS FOIA / Privacy Act Request Submission Form
  Robert Moore <bmooreep@gmail.com>                                                                                                               Tue, Jul 16, 2019 at 10:44 AM
  To: privacy@dhs.gov

    Can you update me on the status of the FOIA request from June 2018 that is mentioned in this thread. ICE said the request was forwarded to your office more than
    a year ago and I have had no communication from you.

    Robert Moore

    On Wed, Jun 27, 2018 at 3:30 PM Robert Moore <bmooreep@gmail.com> wrote:
     Thank you.

      Sent from my iPhone

      > On Jun 27, 2018, at 3:25 PM, ICE-FOIA <ICE-FOIA@ice.dhs.gov> wrote:
      >
      > Good evening,
      > After careful review of your request, we have decided that it would fall under the Department of Homeland Security Privacy Office. We have forwarded your
      request to their office. The contact information is below:
      >
      > Karen Neuman
      > Chief Privacy Officer/Chief FOIA Officer
      > The Privacy Office
      > 245 Murray Lane SW
      > Mail Stop - 0305
      > Washington, D.C. 20528-0305
      > Phone: 202-343-1717
      > E-mail: privacy@dhs.gov
      >
      > Sincerely,
      > ICE FOIA
      >
      > -----Original Message-----
      > From: webpublishing@hq.dhs.gov [mailto:webpublishing@hq.dhs.gov] On Behalf Of WCM DHS
      > Sent: Friday, June 22, 2018 12:24 PM
      > To: ice-foia@dhs.gov
      > Subject: Form submission from: DHS FOIA / Privacy Act Request Submission Form
      >
      > Submitted on Friday, June 22, 2018 - 12:24 Submitted by user: Anonymous Submitted values are:
      >
      > Select the DHS component you wish to submit your request to: : U.S.
      > Immigration and Customs Enforcement (ICE)
https://mail.google.com/mail/u/0?ik=96582636c0&view=pt&search=all&permmsgid=msg-a%3Ar8396741914578068292&dsqt=1&simpl=msg-a%3Ar8396741914578068292                            1/2
9/23/2019                                                  Gmail - RE: Form submission from: DHS FOIA / Privacy Act Request Submission Form

      > Title:
      > First Name: Robert
      > Middle Initial:
      > Last Name: Moore
      > Suffix:
      > Email Address: bmooreep@gmail.com
      > Country: United States
      > Address 1: 711 Blanchard Ave.
      > Address 2:
      > City: El Paso
      > State: Texas
      > Zip Code: 79902
      > Telephone Number: 9155887678
      > Fax Number:
      > Are you requesting records on yourself? No If yes, you must check the perjury statement:
      > By initialing here you are providing your electronic signature.: Robert Moore Please describe the records you are seeking as clearly and precisely as
      > possible:
      > I am seeking:
      >
      > Any memoranda of understanding or agreement between DHS and the Department of Health and Human Services created since January 20, 2017. That
      includes and such memoranda regarding the Office of Refugee Resettlement.
      >
      > An correspondence to or from ICE officials, including text messages or emails, regarding the use of ORR databases for enforcement purposes.
      > I am willing to pay fees for this request up to the amount of: $: 100 Select from the list below: A representative of the news media seeking information as part
      of a news gathering effort and not for commercial use.
      > I request a waiver of all fees for this request.: I request a waiver of all fees for this request.
      > Please provide an explanation for your request for a fee waiver: I am working as a journalist, explaining to the public the functions of the Department of
      Homeland Security. Such work is inherently in the public interest.
      > Please select and describe in detail if you believe your request warrants expeditious handling:
      > Please provide information to support your selection:
      >
      >
      >




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EXHIBIT
  9
                                                                           U.S. Department of Homeland Security
                                                                           Washington, D.C. 20528



                                                                           Homeland
                                                                           Security
                                                                           Privacy Office, Mail Stop 0655
                                          July 19, 2019

SENT VIA E-MAIL TO: bmooreep@gmail.com

Robert Moore


Re: 2019-HQFO-01024

Dear Mr. Moore:

This letters acknowledges receipt of your Freedom of Information Act (FOIA) request to the
Department of Homeland Security (DHS), Privacy Office, dated June 22, 2018, and received in
this office on July 16, 2019. You requested documents regarding (1) any memoranda of
understanding or agreement between DHS and the Department of Health and Human Services
created since January 20, 2017. That includes and such memoranda regarding the Office of
Refugee Resettlement, and (2) any correspondence to or from ICE officials, including text
messages or emails, regarding the use of ORR databases for enforcement purpose.

Due to the subject matter of your request, I am transferring this request to the FOIA Officer for
ICE. Please find their contact information below.

United States Immigration & Customs Enforcement (ICE)
Freedom of Information Act Office
500 12th Street, SW, Stop 5009
Washington, D.C. 20536-5009
FOIA Officer: Catrina Pavlik-Keenan
FOIA Requester Service Center Contact: Fernando Pineiro
Phone: 866-633-1182
Fax: 202-732-4265
E-mail: ice-foia@dhs.gov
ICE Website

If you need to contact our office again about this matter, please refer to 2019-HQFO-01024.
You may contact this office at 1-866-431-0486 or 202-343-1743.

                                             Sincerely,



                                             James Holzer
                                             FOIA Program Specialist
EXHIBIT
  10
9/23/2019                                                                         Gmail - ICE FOIA Request 2019-ICFO-49560



                                                                                                                                             Robert Moore <bmooreep@gmail.com>



  ICE FOIA Request 2019-ICFO-49560
  ice-foia@dhs.gov <ice-foia@dhs.gov>                                                                                                                      Mon, Jul 29, 2019 at 1:55 PM
  To: bmooreep@gmail.com

                                         July 29, 2019

    Robert Moore
    El Paso, TX

    RE:     ICE FOIA Case Number 2019-ICFO-49560

    Dear Mr. Moore:

    This acknowledges receipt of your July 19, 2019, Freedom of Information Act (FOIA) request to U.S. Immigration and Customs Enforcement (ICE), for seeking records regarding
    (1) any memoranda of understanding or agreement between DHS and the Department of Health and Human Services created since January 20, 2017. That includes and such
    memoranda regarding the Office of Refugee Resettlement, and (2) any correspondence to or from ICE officials, including text messages or emails, regarding the use of ORR
    databases for enforcement purpose. Date Range for Record Search: From 1/20/2017 to 6/22/2018. Your request was received in this office on July 19, 2019.

    After careful review of your FOIA request, we determined that your request is too broad in scope, did not specifically identify the records which you are seeking, or only posed
    questions to the agency. Records must be described in reasonably sufficient detail to enable government employees who are familiar with the subject area to locate records
    without placing an unreasonable burden upon the agency. For this reason, §5.3(b) of the DHS regulations, 6 C.F.R. Part 5, require that you describe the records you are seeking
    with as much information as possible to ensure that our search can locate them with a reasonable amount of effort. Whenever possible, a request should include specific
    information about each record sought, such as , recipients, or, if known, the ICE program office you believe created and/or controls the record. The FOIA does not require an
    agency to create new records, answer questions posed by requesters, or attempt to interpret a request that does not identify specific records.

    Please resubmit your request containing a reasonable description of the records you are seeking. Upon receipt of a perfected request, you will be advised as to the status of
    your request.

    If we do not hear from you within 30 days from the date of this letter, we will assume you are no longer interested in this FOIA request, and the case will be administratively
    closed. Please be advised that this action is not a denial of your request and will not preclude you from filing other requests in the future.

    Your request has been assigned reference number 2019-ICFO-49560. Please refer to this identifier in any future correspondence. To check the status of an ICE FOIA/PA request,
    please visit http://www.dhs.gov/foia-status. Please note that to check the status of a request, you must enter the 2019-ICFO-49560 tracking number. If you need any further
    assistance or would like to discuss any aspect of your request, please contact the FOIA office. You may send an e-mail to ice-foia@ice.dhs.gov, call toll free (866) 633-1182 , or
    you may contact our FOIA Public Liaison, Fernando Pineiro, in the same manner. Additionally, you have a right to right to seek dispute resolution services from the Office of
    Government Information Services (OGIS) which mediates disputes between FOIA requesters and Federal agencies as a non-exclusive alternative to litigation. If you are requesting
    access to your own records (which is considered a Privacy Act request), you should know that OGIS does not have the authority to handle requests made under the Privacy Act of
    1974. You may contact OGIS as follows: Office of Government Information Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park,
    Maryland 20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770 ; toll free at 1-877-684-6448 ; or facsimile at 202-741-5769 .


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9/23/2019                                                                    Gmail - ICE FOIA Request 2019-ICFO-49560

    Sincerely,



    ICE FOIA Office

    Immigration and Customs Enforcement
    Freedom of Information Act Office
    500 12th Street, S.W., Stop 5009
    Washington, D.C. 20536-5009
    Telephone: 1-866-633-1182
    Visit our FOIA website at www.ice.gov/foia




https://mail.google.com/mail/u/0?ik=96582636c0&view=pt&search=all&permmsgid=msg-f%3A1640423920896447257&simpl=msg-f%3A1640423920896447257   2/2
EXHIBIT
  11
9/23/2019                                                                    Gmail - ICE FOIA Request 2019-ICFO-49560



                                                                                                                                    Robert Moore <bmooreep@gmail.com>



  ICE FOIA Request 2019-ICFO-49560
  Robert Moore <bmooreep@gmail.com>                                                                                                               Mon, Jul 29, 2019 at 2:10 PM
  To: ice-foia@dhs.gov

    A couple of points:

    1) This request was submitted to ICE on June 22, 2018, not July 19, 2019. ICE sent the request to DHS in June 2018, where it languished for more than a year
    before being sent back to ICE.

    2) Part one of the request stated: "(1) any memoranda of understanding or agreement between DHS and the Department of Health and Human Services created since
    January 20, 2017. That includes and such memoranda regarding the Office of Refugee Resettlement." How is that over broad? It outlines specific agreements between ICE and
    other agencies. You have had this very defined request for specific agreements for more than a year and have not complied with the requirements of FOIA.

    3) Please modify Part 2 of the request to read: "(2) any correspondence to or from Acting ICE Director Thomas Homan, including text messages or emails, regarding memoranda
    of agreement between DHS and/or ICE, and the Department of Health and Human Services and/or the Office of Refugee Resettlement; and correspondence, including text
    messages or emails, to or from Mr. Homan regarding the use of ORR databases for enforcement purpose. Date Range for Record Search: From 1/20/2017 to 6/22/2018."

    Robert Moore
    [Quoted text hidden]




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EXHIBIT
  12
    DEPARTMENT OF HEALTH & HUMAN SERVICES                                               Office of the Secretary
                                                                           Assistant Secretary for Public Affairs
                                                                                      Washington, D.C. 20201


Refer to: Request Number 2018-01128-FOIA-OS

June 22, 2018

Robert Moore
Journalist
711 Blanchard Ave.
El Paso, TX 79902
Via email: bmooreep@gmail.com

Dear Mr. Moore:

This acknowledges receipt of your June 22, 2018, Freedom of Information Act (FOIA) request, submitted
to the Department of Health and Human Services (HHS), FOI/Privacy Acts Division. Specifically, you
requested:

“An memoranda of understanding or agreement between the Department of Health and Human
Services and the Department of Homeland Security since Jan. 20, 2017.

Any correspondence, including emails and text messages, regarding access to HHS databases,
including those maintained by the Office of Refugee Resettlement, by Department of Homeland
Security officials. (Date Range for Record Search: From 01/20/2017 To 06/22/2018)”.

We received your request on June 22, 2018, and are referring it to the Administration for Children and
Families (ACF)) for direct response to you. You may check on the status of your request with ACF at 1-
888-747-1861 or foia@acf.hhs.gov.

If you are not satisfied with any aspect of the processing and handling of this request, you have the right
to seek dispute resolution services from:

                         Michael Bell
                         HHS FOIA Public Liaison
                         U.S. Department of Health and Human Services
                         Office of the Assistant Secretary for Public Affairs
                         Room 729H
                         200 Independence Avenue, S.W.
                         Washington, DC 20201

                         Telephone: (202) 260-0793
                         E-mail: HHS_FOIA_Public_Liaison@hhs.gov

and/or:
                      Office of Government Information Services
                      National Archives and Records Administration
                      8601 Adelphi Road – OGIS
                      College Park, MD 20740-6001

                      Telephone: 202-741-5770
                      Toll-Free: 1-877-684-6448
                      E-mail: ogis@nara.gov
                      Fax: 202-741-5769


Sincerely,


Natasha Taylor
Government Information Specialist
Main Office Line: 202-690-7453
EXHIBIT
  13
9/23/2019                                                                          Gmail - Acknowledgement Letter



                                                                                                                                    Robert Moore <bmooreep@gmail.com>



  Acknowledgement Letter
  foia@acf.hhs.gov <foia@acf.hhs.gov>                                                                                                       Wed, Aug 1, 2018 at 10:06 AM
  To: bmooreep@gmail.com


    Case No: 18-F-0410

    August 01, 2018

    Robert Moore
    Journalist
    711 Blanchard Avenue
    El Paso, TX 79902

    Dear Robert Moore:

    This will acknowledge receipt of your Freedom of Information Act (FOIA) request received by this office. Your request has been assigned a case number based on
    the time it was received in this office and is being processed as expeditiously as possible. The actual processing time will depend on the complexity of your request
    and whether sensitive records, voluminous records, extensive search, and/or consultation with other HHS components or other executive branch agencies are
    involved. There may be a charge for these records and, in some cases, the charges may be substantial.

    If you have any questions, please email FOIA@acf.hhs.gov or call 1-888-747-1861, or write to us at:

    Freedom of Information Act Office
    Administration for Children and Families
    4th Floor
    Mary E. Switzer Building
    330 C Street, SW
    Washington, D.C. 20201

    Please use the case tracking number at the top of the page when discussing your request.

    Sincerely,

        Kimberly N. Epstein
        FOIA Officer
        Administration for Children and Families




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EXHIBIT
  14
9/25/2019                                                                       Gmail - Seeking status of FOIA request



                                                                                                                                    Robert Moore <bmooreep@gmail.com>



  Seeking status of FOIA request
  Robert Moore <bmooreep@gmail.com>                                                                                                           Wed, Sep 12, 2018 at 11:30 AM
  To: "ACF FOIA (ACF)" <FOIA@acf.hhs.gov>

    I am renewing my request for a status update on my FOIA request, made June 22. HHS is not complying with statutory requirements regarding FOIA requests. I
    have received no response to my initial request, or my follow up attempts. Can someone please provide me with an update on this request? The request number is
    2018-01128-FOIA-OS.

    Robert Moore
    [Quoted text hidden]




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EXHIBIT
  15
9/25/2019                                                                         Gmail - Acknowledgement Letter



                                                                                                                                    Robert Moore <bmooreep@gmail.com>



  Acknowledgement Letter
  Robert Moore <bmooreep@gmail.com>                                                                                                           Mon, Sep 23, 2019 at 9:39 AM
  To: "ACF FOIA (ACF)" <foia@acf.hhs.gov>

    Can you update me on the status of this FOIA request? I have not received any communication since this acknowledgment of receipt more than a year ago.

    Robert Moore
    [Quoted text hidden]




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EXHIBIT
  16
9/25/2019                                                                          Gmail - Acknowledgement Letter



                                                                                                                                    Robert Moore <bmooreep@gmail.com>



  Acknowledgement Letter
  ACF FOIA (ACF) <FOIA@acf.hhs.gov>                                                                                                         Wed, Sep 25, 2019 at 5:56 AM
  To: Robert Moore <bmooreep@gmail.com>


    Good morning, Mr. Moore:



    Our apologies for not reaching out to you sooner; the person handling your request has le the agency. I’ll be assis ng you from now on.



    In looking at your request, I see that the program oﬃce has provided the MOU you requested, so I have that record in my possession. However, the second
    part of your request, “any correspondence, including emails and text messages, regarding access to HHS databases, including those maintained by the Oﬃce
    of Refugee Rese lement, by Department of Homeland Security oﬃcials” I am a li le unclear about.



    What do you mean when you say emails regarding access to HHS databases by DHS oﬃcials? Are you asking if we have any emails from DHS people
    reques ng access to ORR databases? If so, that part of your request may need to go to DHS. Since we wouldn’t have the names of the DHS employees to
    search, they would probably need to search their employees’ emails to HHS reques ng access to our databases.



    Please let me know if I’m understanding you correctly. As to the MOU, I’ll try to process that this week and get it out to you as soon as I can.


    Thanks,



    Alexis

    ACF FOIA
    [Quoted text hidden]




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EXHIBIT
  17
9/23/2019                                                                                   FOIAonline Request Details


  CBP-OFO-2019-010211 Request Details


                                               Submitted             Evaluation            Assignment             Processing   Closed



    Contact Information

       Full Name                              Robert Moore
       Organization
       Email Address                          bmooreep@gmail.com
       Phone Number                           9155887678
       Fax Number
       Mailing Address Location               United States/US Territories
       Address Line 1                         711 Blanchard Ave.
       Address Line 2
       City                                   El Paso
       State/Province                         TX
       Zip Code/Postal Code                   79902


    Request Information

       Agency                                 O ice of Field Operations (OFO)
       Will Pay Up To                         $100.00
       Date Submitted                         11/11/2018
       Estimated Date                         12/26/2018
       of Completion
       Fee Category                           N/A
       Request Track                          Simple
       Request Phase                          Assignment
       Final Disposition                      Undetermined


    Additional Information
https://www.foiaonline.gov/foiaonline/action/registered/submissionDetails?trackingNumber=CBP-OFO-2019-010211&type=Request               1/3
9/23/2019                                                                                   FOIAonline Request Details
    Additional Information

      Type of Records Requested                 Other
      On Behalf Of First                        N/A
      On Behalf Of Middle                       N/A
      On Behalf Of Last                         N/A
      Date of Birth                             N/A
      Aliases                                   N/A
      Alien Number                              N/A
      Parents' Names                            N/A


    Description

       Description                            I am seeking emails, text messages, memoranda and all other written communication regarding a Mobile Field Force
                                              Demonstration originally scheduled for November 6, 2018, in El Paso, Texas. A press release on the event described its
                                              location as "the railroad crossing west of the Paso Del Norte Port of Entry." The time period covered by my request is
                                              October 1, 2018, to November 11, 2018.


    Request Expedited Processing

       Made Request?                          No


    Request a Fee Waiver

      Made Request?                      Yes
      Expedited Justification            CBP considered this exercise to be in the public interest, as evidenced by the issuance of a news release and an invitation to
   the media to cover the exercise. The exercise became a point of public controversy, leading to allegations of voter intimidation on Election Day.


    Supporting Files


https://www.foiaonline.gov/foiaonline/action/registered/submissionDetails?trackingNumber=CBP-OFO-2019-010211&type=Request                                                 2/3
9/23/2019                                                                                   FOIAonline Request Details


     Download                                Attached File Name                                                    Size (MB)   File Type

                                                                            No attachments have been added.




https://www.foiaonline.gov/foiaonline/action/registered/submissionDetails?trackingNumber=CBP-OFO-2019-010211&type=Request                  3/3
EXHIBIT
  18
9/23/2019                                                                  Gmail - FOIA Request CBP-2019-010211 Modified



                                                                                                                                    Robert Moore <bmooreep@gmail.com>



  FOIA Request CBP-2019-010211 Modified
  admin@foiaonline.gov <admin@foiaonline.gov>                                                                                                Tue, Nov 27, 2018 at 5:55 AM
  To: bmooreep@gmail.com


    The FOIA request - CBP-2019-010211 description has been modified. Additional details for this item are as follows:

            Tracking Number: CBP-2019-010211
            Requester: Robert Moore
            Submitted Date: 11/11/2018
            Description: I am seeking emails, text messages, memoranda and all other written communication regarding a Mobile Field Force Demonstration originally
            scheduled for November 6, 2018, in El Paso, Texas. A press release on the event described its location as "the railroad crossing west of the Paso Del Norte
            Port of Entry." The time period covered by my request is October 1, 2018, to November 11, 2018.




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EXHIBIT
  19
9/23/2019                                      FOIA Tracking Number Change for request CBP-2019-010211 (to CBP-OFO-2019-010211) - bmooreep@gmail.com - Gmail



                                                             010211


                                                                                                                                                                                    1o
             Compose


             Inbox                         1
                                                                FOIA Tracking Number Change for request CBP-2019-010211 (to C
                                                                OFO-2019-010211)     Inbox ×
             Starred

             Snoozed                                            admin@foiaonline.gov                                                                               Mon, Jul 22, 12:23
                                                                    to me
             Important

             Sent                                               The FOIA request CBP-2019-010211 has had its Tracking Number changed to CBP-OFO-2019-010211. This is no
                                                                request being transferred to another agency (for example, EPA to Dept. of Commerce) or to a sub-agency to proce
             Drafts                                             for this request are as follows:

             Spam                                                           Old Tracking Number: CBP-2019-010211
                                                                            New Tracking Number: CBP-OFO-2019-010211
             Categories
                                                                            Requester Name: Robert Moore
             EPMatters_News                                                 Date Submitted: 11/11/2018
                                                                            Long Description: I am seeking emails, text messages, memoranda and all other written communication
             Personal                                                       Field Force Demonstration originally scheduled for November 6, 2018, in El Paso, Texas. A press releas
                                                                            described its location as "the railroad crossing west of the Paso Del Norte Port of Entry." The time period
             Travel
                                                                            is October 1, 2018, to November 11, 2018.




https://mail.google.com/mail/u/0/#search/010211/FMfcgxwChmSkqFrfjzKpHVFBjkJfGtTl                                                                                                    1/1
EXHIBIT
  20
9/23/2019                                                                               Gmail - FOIA request



                                                                                                                                     Robert Moore <bmooreep@gmail.com>



  FOIA request
  Robert Moore <bmooreep@gmail.com>                                                                                                           Tue, Mar 26, 2019 at 8:40 AM
  To: ICE-FOIA@dhs.gov

    Under the Freedom of Information Act, I am requesting the following:

    Emails, texts, letters, reports or other written communication regarding the following two requests for media interviews at the El Paso Processing Center:

    1) An email sent on March 13, 2019, by Robert Moore to Leticia Zamarripa seeking to interview Rajandeep Singh.

    2) An email sent on March 17, 2019, by Robert Moore to Leticia Zamarripa seeking to interview Jasvir Singh.

    3) A faxed request sent on March 19, 2019, by Robert Moore to Field Office Director Corey A. Price seeking to interview Rajandeep Singh and Jasvir Singh.

    The period covered by this request is March 13, 2019, to March 26, 2019. The request includes but is not limited to communications to and from Leticia Zamarrripa
    and Corey A. Price.

    Robert Moore
    El Paso, TX
    915-588-7678




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EXHIBIT
  21
9/23/2019                                                                          Gmail - ICE FOIA Request 2019-ICFO-33608



                                                                                                                                            Robert Moore <bmooreep@gmail.com>



  ICE FOIA Request 2019-ICFO-33608
  ice-foia@dhs.gov <ice-foia@dhs.gov>                                                                                                                       Tue, Apr 9, 2019 at 6:11 AM
  To: bmooreep@gmail.com

                                         April 09, 2019

    Robert Moore
    El Paso, TX

    RE:     ICE FOIA Case Number 2019-ICFO-33608

    Dear Mr. Moore:

    This acknowledges receipt of your March 26, 2019, Freedom of Information Act (FOIA) request to U.S. Immigration and Customs Enforcement (ICE), for Emails, texts, letters,
    reports or other written communication regarding the following two requests for media interviews at the El Paso Processing Center: 1) An email sent on March 13, 2019, by
    Robert Moore to Leticia Zamarripa seeking to interview Rajandeep Singh. 2) An email sent on March 17, 2019, by Robert Moore to Leticia Zamarripa seeking to interview Jasvir
    Singh. 3) A faxed request sent on March 19, 2019, by Robert Moore to Field Office Director Corey A. Price seeking to interview Rajandeep Singh and Jasvir Singh. The period
    covered by this request is March 13, 2019, to March 26, 2019. The request includes but is not limited to communications to and from Leticia Zamarrripa and Corey A. Price..
    Your request was received in this office on April 09, 2019.

    Please be advised that DHS regulations require, in the case of third party information requests, a statement from the individual verifying his or her identity and certifying that
    individual's agreement that records concerning him or her may be accessed, analyzed and released to a third party. See 6 C.F.R. § 5.21(f). Because you have not provided this
    documentation with your request, we are unable to initiate a search for responsive records.

    Please provide the requested documentation within 30 days from the date of this letter, or we will assume you are no longer interested in this FOIA/PA request, and the case will
    be administratively closed.

    This is not a denial of your request. Upon receipt of a perfected request, you will be advised as to the status of your request.

    Your request has been assigned reference number 2019-ICFO-33608. Please refer to this identifier in any future correspondence. To check the status of an ICE FOIA/PA request,
    please visit http://www.dhs.gov/foia-status. Please note that to check the status of a request, you must enter the 2019-ICFO-33608 tracking number. If you need any further
    assistance or would like to discuss any aspect of your request, please contact the FOIA office. You may send an e-mail to ice-foia@ice.dhs.gov, call toll free (866) 633-1182, or you
    may contact our FOIA Public Liaison, Fernando Pineiro, in the same manner. Additionally, you have a right to right to seek dispute resolution services from the Office of
    Government Information Services (OGIS) which mediates disputes between FOIA requesters and Federal agencies as a non-exclusive alternative to litigation. If you are requesting
    access to your own records (which is considered a Privacy Act request), you should know that OGIS does not have the authority to handle requests made under the Privacy Act of
    1974. You may contact OGIS as follows: Office of Government Information Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park,
    Maryland 20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769.


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9/23/2019                                                                    Gmail - ICE FOIA Request 2019-ICFO-33608

    Regards,




    ICE FOIA Office
    Immigration and Customs Enforcement
    Freedom of Information Act Office
    500 12th Street, S.W., Stop 5009
    Washington, D.C. 20536-5009
    Telephone: 1-866-633-1182
    Visit our FOIA website at www.ice.gov/foia


            ICE 3rd Party Consent Form.pdf
            126K




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EXHIBIT
  22
9/23/2019                                                                     Gmail - ICE FOIA Request 2019-ICFO-33608



                                                                                                                                     Robert Moore <bmooreep@gmail.com>



  ICE FOIA Request 2019-ICFO-33608
  Robert Moore <bmooreep@gmail.com>                                                                                                            Tue, Apr 9, 2019 at 2:14 PM
  To: ice-foia@dhs.gov

    I am seeking information on how my own interview request was handled by ICE officials. Who is the third party you are referring to?

    Robert Moore
    El Paso, Texas
    [Quoted text hidden]




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EXHIBIT
  23
9/23/2019                                                                    Gmail - ICE FOIA Request 2019-ICFO-33608



                                                                                                                                    Robert Moore <bmooreep@gmail.com>



  ICE FOIA Request 2019-ICFO-33608
  ICE-FOIA <ICE-FOIA@ice.dhs.gov>                                                                                                            Wed, Apr 24, 2019 at 5:36 AM
  To: Robert Moore <bmooreep@gmail.com>


    Good morning,

    We do apologize for the confusion, it seems a third party consent form was sent in error. What is required from you is a Certification of Identity form which has been
    sent in a separate email. We do apologize for the inconvenience.



    Sincerely,

    ICE FOIA

    [Quoted text hidden]




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EXHIBIT
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9/23/2019                                                                    Gmail - ICE FOIA Request 2019-ICFO-33608



                                                                                                                                    Robert Moore <bmooreep@gmail.com>



  ICE FOIA Request 2019-ICFO-33608
  Robert Moore <bmooreep@gmail.com>                                                                                                             Mon, Apr 29, 2019 at 11:01 AM
  To: ice-foia@dhs.gov

    Please find my certification of identity attached, reference number 2019-ICFO-33608.

    Robert Moore
    711 Blanchard Ave.
    El Paso, TX 79902
    915-588-7678
    [Quoted text hidden]


            Certification of identity-RCMoore.pdf
            732K




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